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            EXHIBIT A
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Date:    May 1, 2024

To:      Obadiah Oseko Kegege
         P.O. Box 1153
         Greenbelt, MD 20768
         Email: obadiah_ke@hotmail.com

From:    Dynadot Inc
         205 East 3rd Avenue, Suite 314
         San Mateo, CA 94401

Re:      Kegege v. Namesilo LLC et al; 8:20-cv-01066-TDC; Dynadot Inc production

Dear Obadiah Oseko Kegege,

Dynadot Inc is in receipt of a subpoena in a matter before the US District Court of Maryland carrying case number 8:20-cv-
01066-TDC for data related to the exposecheaters.com domain name. See attached copy of this subpoena, which was
received by Dynadot via mail on April 19 2024.

Please note that the domain name has not been registered with Dynadot since Sept 7 2022. Instead, this domain has been
registered with NameBright.com as of sometime around the same date. See attached WHOIS extract.

Dynadot's historic registration records show the following domain registrant contact record as of immediately prior to the
above date:




Sincerely,

David Archwamety, VP
Dynadot Inc




                                                                                                                 DYNA 0001
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                                                             DYNA 0002
             Case 8:20-cv-01066-TDC Document 52-1 Filed 08/23/24 Page 4 of 10
                                                  English

                                  (/en)



Registration data lookup tool
Enter a domain name or an Internet number             Frequently Asked Questions
resource (IP Network or ASN)                                       (FAQ) (/en/faq)

 exposecheaters.com                                                                  Lookup

By submitting any personal data, I acknowledge and agree that the personal data
submitted by me will be processed in accordance with the ICANN Privacy Policy
(https://www.icann.org/privacy/policy), and agree to abide by the website Terms of
Service (https://www.icann.org/privacy/tos) and the registration data lookup tool
Terms of Use (unsafe:javascript:void(0)).




 Domain Information

  Name: EXPOSECHEATERS.COM

  Registry Domain ID: 2732114762_DOMAIN_COM-VRSN

  Domain Status:
  clientTransferProhibited (https://icann.org/epp#clientTransferProhibited)

  Nameservers:
  NSG1.NAMEBRIGHTDNS.COM
  NSG2.NAMEBRIGHTDNS.COM


  Dates
  Registry Expiration: 2024-10-14 18:35:47 UTC

  Updated: 2023-10-08 07:01:41 UTC

  Created: 2022-10-14 18:35:47 UTC




 Contact Information



     Administrative:


                                                                                     DYNA 0003
           Case 8:20-cv-01066-TDC Document 52-1 Filed 08/23/24 Page 5 of 10
  Handle: TC-240470

  Name: administrative

  Organization: HugeDomains.com

  Email: domains@hugedomains.com

  Mailing Address: 2635 Walnut Street, Denver, CO, 80205, US




  Registrant:
  Handle: TC-240470

  Name: administrative

  Organization: HugeDomains.com

  Email: domains@hugedomains.com

  Mailing Address: 2635 Walnut Street, Denver, CO, 80205, US




  Technical:
  Handle: TC-240470

  Name: administrative

  Organization: HugeDomains.com

  Email: domains@hugedomains.com

  Mailing Address: 2635 Walnut Street, Denver, CO, 80205, US




Registrar Information

Name: TurnCommerce, Inc. DBA NameBright.com

IANA ID: 1441

Abuse contact email: abuse@NameBright.com

Abuse contact phone: tel:+1.7204960020




DNSSEC Information

Delegation Signed: Unsigned
                                                                          DYNA 0004
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Authoritative Servers

Registry Server URL: https://rdap.verisign.com/com/v1/domain/exposecheaters.com (https://rdap.verisign.com/co
m/v1/domain/exposecheaters.com)

Last updated from Registry RDAP DB: 2024-04-24 23:45:04 UTC

Registrar Server URL: https://rdap.namebright.com/rdap/domain/EXPOSECHEATERS.COM (https://rdap.namebri
ght.com/rdap/domain/EXPOSECHEATERS.COM)

Last updated from Registrar RDAP DB: 2024-04-24 23:45:17 UTC




Notices and Remarks

Notices:
Status Codes

For more information on domain status codes, please visit https://icann.org/epp
https://icann.org/epp (https://icann.org/epp)

RDAP Terms of Service




                                                                                              DYNA 0005
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NAMEBRIGHT.COM RDAP TERMS
The Registration Data Access Protocol (RDAP) is a pilot program implemented by ICANN. For additional informatio
n please refer to https://www.icann.org/rdap
Queries made to NameBright via RDAP must expressly comply with these terms and are done with the acknowledg
ement that any information will be used in accordance with NameBright's Privacy Policy, located at https://www.nam
ebright.com/Privacy
Any and all information is provided 'as is'. NameBright makes no guarantee to the accuracy of the RDAP data provi
ded in any way, shape or form, and these terms in their entirety MUST be included in and accompany any subseque
nt use or storage of this response data or its representation.
Requestors are not allowed to harass or solicit the registrant or misuse the data that comes from RDAP. This syste
m is solely intended for individual interaction on query-based access. This RDAP service is being provided on an ex
perimental basis only and should not be relied upon for truth or accuracy nor should it be used for any other purpos
e. In querying this database and data (through use of RDAP) you agree to such stipulations.
Under no circumstances will any person or program that queries this RDAP information from NameBright allow, ena
ble, or otherwise support the transmission of mass unsolicited, commercial advertising or solicitations (in any form) t
o or from any records or fields that are retrieved from this system. Any attempt to do so violates the terms of use of t
his system is unsupported, and might be in violation of laws.
Do not, under any circumstance, access this RDAP Domain Database using any high volume, automated, electronic
processes that send queries or data to the systems of NameBright.com or any ICANN-accredited registrar.
The use of the information contained in the RDAP Domain Database is intended for and will only be used for lawful
purposes. Requesting parties will be solely responsible for any and all consequences should they do otherwise, and
any abuse of this RDAP system will be dealt with appropriately and to the maximum extent of the law.
Requesters are not allowed to repackage, collate, compile, disseminate, or otherwise use the data which is provide
d to you from RDAP in its entirety, or in any substantial portion, without prior written permission.
Those querying RDAP from NameBright may not store results in memory, databases, on a hard disk or flash drive,
nor re-transmit, sell, package, license or otherwise transfer such data in bulk to any other individual, organization or
business entity.
NameBright retains certain details about queries made to the RDAP database for the purposes of detecting and pre
venting high volume, automated queries and/or potential misuse of NameBright system(s). Any detection of misuse
will be programmatically shut down.
NameBright reserves the right to restrict or deny access to the RDAP data if it is suspected that there is any failure t
o comply with any of these terms. Any such termination will occur without warning or notification, and NameBright re
serves the exclusive right and authority to terminate such use at any time for any reason.
NameBright reserves the right to modify or discontinue participation in any voluntary aspects of the RDAP program
and suspend or terminate related access to the RDAP protocol at any time and for any reason at NameBright's sole
discretion.
In using RDAP through NameBright and/or over the Internet or via any set of connected computers, requestors expr
essly agree to indemnify and hold harmless NameBright, its officers, directors, employees or any related business e
ntity.
NameBright reserves the right to modify this agreement without notice at any time.
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Last Revised: July 8, 2022
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https://www.namebright.com/RDAP (https://www.namebright.com/RDAP)
                                                                                                        DYNA 0006
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  RDDS Inaccuracy Complaint Form
  URL of the ICANN RDDS Inaccuracy Complaint Form: https://icann.org/wicf
  https://icann.org/wicf (https://icann.org/wicf)

  This response conforms to the RDAP Operational Profile for gTLD Registries and Registrars version 1.0




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Youtube (https://www.youtube.com/icannnews)         Twitter (https://www.twitter.com/icann)   Linkedin (https://www.linkedin.com/company/icann)




                                                                                                                     
Flickr (https://www.flickr.com/photos/icann)                                                     Facebook (https://www.facebook.com/icannorg)




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                                    
Newletters (https://www.icann.org/resources/pages/global-newsletter-2018)                         Community Wiki (https://community.icann.org/)
                     
ICANN Blog (https://www.icann.org/news/blog)



WHO WE ARE CONTACT US ACCOUNTABILITY AND                                            GOVERNANCE HELP DATA PROTECTION
                                               TRANSPARENCY


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  Cookies Policy (https://www.icann.org/privacy/cookies)




                                                                                                                         DYNA 0007
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                                                             DYNA 0008
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From        Dynadot Legal <legal@dynadot.com>
To          obadiah_ke@hotmail.com
Subject     Kegege v. Namesilo LLC et al; 8:20-cv-01066-TDC; Dynadot Inc production
Date        May 1, 2024 14:59 PST
Folder      Outbox
Size        1411891
Attach      2024-05 Dynadot Inc production re exposecheaters.com.pdf


Dear Obadiah Oseko Kegege,

Dynadot Inc is in receipt of a subpoena in a matter before the US District Court of Maryland carrying case
number 8:20-cv- 01066-TDC for data related to the exposecheaters.com domain name. See attached Dynadot's
response.

Sincerely,
Dynadot Legal Department
legal@dynadot.com




                                                                                            DYNA 0009
